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 1
                                IN THE UNITED STATES DISTRICT COURT
 2                            FOR THE WESTERN DISTRICT OF WASHINGTON
                                            AT TACOMA
 3

 4   UNITED STATES OF AMERICA,

 5                   Plaintiff,                              No.     CR 14-5159 BHS

 6   -vs-
                                                             Order for Non Custody Transportation
 7   DAVID LOZANO-ALVARADO                                   Pursuant to 18 USC 4285
 8                   Defendants.

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12           This matter having come before the undersigned judge on defendant’s motion for transportation
     and subsistence expenses pursuant to 18 USC 4285, and the court having considered the pleading filed in
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     support of the motion and the three previous orders entered with respect to Mr. Lozano-Alvarado,
14   NOW THEREFORE IT IS HEREBY ORDERED THAT THE UNITED STATES MARSHAL SHALL:

15   Arrange and provide the funds for the non-custodial transportation of Defendant David Lozano-Alvarado
     from Tacoma, Washington to Pomona, California after the court appearance(s) scheduled for February 4,
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     2015. In addition, the United States Marshal shall furnish Defendant an adequate amount of money for
17   subsistence expense to the destination, not to exceed the mount authorized as per diem allowance for

18   travel under 5 USC 5702 (A).

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             DATED this 2nd day of February, 2015.
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                                                     A
                                                     BENJAMIN H. SETTLE
                                                     United States District Judge

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                                                                                 LAW OFFICE OF
                                                                               MARK W. MUENSTER
                                                                              1010 ESTHER STREET
                                                                              VANCOUVER, WA 98660
     ORDER FOR NON-CUSTODIAL TRANSPORTATION                                     (360) 694-5085
